                                                                                          e
     Case 2:17-cv-07727-PSG-JEM Document 32 Filed 12/11/17 Page 1 of 2 Page ID #:292
                                                                           i=
                                                                                ~~~~


 1     BARRY ROSEN
 a     136 S. Clark Dr. #5
       Los Angeles, CA 90048
 3
       Tel:(323)653-2043
4
       In Pro Per
 s
6
                               UNITED STATES DISTRICT COURT

 s                           CENTRAL DISTRICT OF CALIFORNIA
9
                    BARRY ROSEN,                      Case No. 17-CV-07727-PSG-JEMx
io     Individually and as a Private Attorney
>>     General
                    Petitioner and Plaintiff,         APPLICATION FOR ENTRY OF
12                                                    DEFAULT AGAINST:
13                          vs.                       RESPONDANT/DEFENDANT CI
                                                      OF SANTA MONICA
14
       L7NITED STATES GOVERNMENT,
is     FEDERAL AVIATION
       ADMINISTRATION,AND CITY OF                 (Declaration ofPetitioner/Plaintiff B
16
       SANTA MONICA,
i~                 Respondents and                    Rosen)
~s     Defendants.

i9
ao
ai     To the Clerk of the United States District Court for the Central District of
~~~
       California:
23

24     As provided by Rule 55 ofthe Federal Rules of Civil Procedure,
25
       Petitioner/Plaintiff Baay Rosen hereby requests that the Clerk enter
26

27

28
                    APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA

                                                  1
 Case 2:17-cv-07727-PSG-JEM Document 32 Filed 12/11/17 Page 2 of 2 Page ID #:293



i    the default ofthe following Defendants)for failure to plead or otherwise defend
2
     against this action in a timely manner:
3

4    Name of Respondent/Defendant: City of Santa Monica
5
     1)As evidenced by the proof of service on file with this Court,
6

r~ named Respondent/Defendant was served with the First Amended
 s i Petition/Com~laint pursuant to Rule 4 of the Federal Rules Procedure on
 9
     November 17, 2017.
io
li   2)The applicable time limit for the above-named Respondent/Defendant to
1z
     otherwise respond to the First Amended Petition/Com~laint in this action expired
13

14
     on December 8, 2017.

is   The above-named Defendants have failed to plead or otherwise respond to the Firs
16
     Amended Petition/Complaint.
i~
~E:~ This request is based on the attached Declaration of Plaintiff.
t9
     Dated: December 11, 2017
Zo
     Respectfully submitted,                                    _~~
Zi                                                        .~-___~
Za                                                   --~
23                                                 Petitioner/Plaintiff In Pro Per,
                                                             Barry Rosen
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               APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA

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